              Case 2:23-cv-00233-KKE Document 7-1 Filed 02/28/23 Page 1 of 3




 1                                                                          The Honorable Tana Lin

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 7                              UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF WASHINGTON
 8
     CHELSEA RUTTER, individually and on behalf
 9   of all others similarly situated,                        Case No. 2:23-cv-00233-TL
10                      Plaintiff,                            [PROPOSED] ORDER GRANTING
                                                              DEFENDANT’S MOTION TO
11          v.                                                DISMISS
12   BRIGHT HORIZONS FAMILY SOLUTIONS,
     INC. d/b/a BRIGHT HORIZONS CHILDREN’S
13   CENTERS, INC.,
14                      Defendant.
15

16          This matter having come before the Court on Defendant Bright Horizons Children’s Center
17   LLC, (improperly named as Bright Horizons Family Solutions Inc. d/b/a Bright Horizons
18   Children’s Centers, Inc.) (hereinafter “Bright Horizons” or “Defendant”) Motion to Dismiss
19   (“Motion”) and the Court having considered Defendant's Motion and supporting documents,
20   Plaintiff's Opposition to Defendant's Motion and any supporting documents, and Defendant's
21   Reply and any supporting documents, it is hereby ORDERED as follows:
22          Based on the foregoing, IT IS HEREBY ORDERED, ADJUDGED AND DECREED that
23   Defendant's Motion to Dismiss is hereby GRANTED. Plaintiff Chelsea Rutter's claims in this
24   matter are dismissed in their entirety and with prejudice.
25   //
26   //

                                                                                 LITTLER MENDELSON, P.C.
     [PROPOSED] ORDER GRANTING DEF’S MOTION TO DISMISS - 1                             Attorneys at Law
                                                                                      One Union Square
     CASE NO. 2:23-CV-00233                                                    600 University Street, Suite 3200
                                                                               Seattle, Washington 98101.3122
                                                                                         206.623.3300
               Case 2:23-cv-00233-KKE Document 7-1 Filed 02/28/23 Page 2 of 3




 1   //

 2           IT IS SO ORDERED.

 3           DATED this ______ day of ________________________, 2023.

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                                             _________________________________
 5
                                             THE HONORABLE TANA LIN
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 8
     Presented by:
 9

10
     By: /s/ Derek A. Bishop
11      Derek A. Bishop, WSBA #39363
        debishop@littler.com
12      Rebecca Schach, WSBA #58018
        rschach@littler.com
13      LITTLER MENDELSON, P.C.
        One Union Square
14      600 University Street, Suite 3200
        Seattle, WA 98101.3122
15      Phone:      206.623.3300
        Fax:        206.447.6965
16
          Attorneys for Defendant
17

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                                                                          LITTLER MENDELSON, P.C.
     [PROPOSED] ORDER GRANTING DEF’S MOTION TO DISMISS - 2                      Attorneys at Law
                                                                               One Union Square
     CASE NO. 2:23-CV-00233                                             600 University Street, Suite 3200
                                                                        Seattle, Washington 98101.3122
                                                                                  206.623.3300
                 Case 2:23-cv-00233-KKE Document 7-1 Filed 02/28/23 Page 3 of 3




 1                                    CERTIFICATE OF SERVICE

 2            I am a resident of the State of Washington. I am over the age of eighteen years and not a

 3   party to the within-entitled action. My business address is One Union Square, 600 University

 4   Street, Suite 3200, Seattle, Washington 98101. I hereby certify that on February 28, 2023, I

 5   electronically filed the foregoing document with the Clerk of the Court using the CM/ECF system,

 6   which will send notification of such filing to the following:

 7    Attorneys for Plaintiff
 8    Beth E. Terrell, WSBA #26759    David Seligman, pro hac vice pending
      Toby J. Marshall, WSBA #32726   Juno Turner, pro hac vice pending
 9                                    Valerie Collins, pro hac vice pending
      Elizabeth A. Adams, WSBA #49715
10    TERRELL MARSHALL LAW GROUP PLLC TOWARDS JUSTICE
      936 North 34th St., Suite 300   P.O. Box 371680
11    Seattle, WA 98103               PMB44465
      Tel: 206-816-6608               Denver, CO 80237
12                                    Tel: 720-441-2236
      Fax: 206-319-5450
      bterrell@terrellmarshall.com    david@towardsjustice.org
13                                    juno@towardsjustice.org
      tmarshall@terrellmarshall.com
14    eadams@terrellmarshall.com      valerie@towardsjustice.org

15            I certify under penalty of perjury under the laws of the United States and of the State of
16   Washington that the foregoing is true and correct.
17
              Executed on February 28, 2023, at Seattle, Washington.
18

19                                                         /s/ Katie Angelikis
                                                           Katie Angelikis
20                                                         kangelikis@littler.com
                                                           LITTLER MENDELSON, P.C.
21   4881-6231-0483.1 / 050113-1085

22

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                                                                                   LITTLER MENDELSON, P.C.
     [PROPOSED] ORDER GRANTING DEF’S MOTION TO DISMISS - 3                               Attorneys at Law
                                                                                        One Union Square
     CASE NO. 2:23-CV-00233                                                      600 University Street, Suite 3200
                                                                                 Seattle, Washington 98101.3122
                                                                                           206.623.3300
